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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                )
                                         )
                       Plaintiff,        )
                                         )
         v.                              )        No. 23-CR-209-1 (CKK)
                                         )
NICHOLAS FULLER                          )
                                         )
                      Defendant.         )
                                         )

                         DEFENDANT NICHOLAS FULLER’S
                       MEMORANDUM IN AID OF SENTENCING

   I.         Introduction


   Mr. Fuller will be before the Court having pleaded guilty to one Count of Civil

Disorder in violation of 18 U.S.C. § 231(a)(3) on Capitol grounds on January 6th,

2021. He is remorseful for his conduct and is prepared to accept responsibility for

his actions. Mr. Fuller, through counsel, respectfully requests a non-custodial

sentence with any special conditions the Court sees fit to impose, along with the

$2,000 restitution obligation. Such a sentence is sufficient but not greater than

necessary to meet the goals of sentencing, as required by 18 U.S.C.§ 3553(a). The

United States Probation Office also recommends a non-custodial sentence.

Probation specifically recommends 36 months of probation and a $2000 fine with

the added component of home detention. Counsel agrees that in light of the

circumstances of this case and Mr. Fuller’s extraordinary family circumstances, this

would be a reasonable sentence.



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   II.      Procedural History
         Mr. Fuller was arrested at work in Waseca, Minnesota on June 14, 2023,

pursuant to a criminal complaint. His nephew and co-defendant, Caleb Fuller, was

also arrested that day and his brother and co-defendant Kenneth Fuller was

arrested two days later on identical charges. On June 29, 2023, an information was

filed charging them with misdemeanors. All three made their initial appearances in

this District via video on July 6, 2023. Mr. Nicholas Fuller indicated a desire to

plead guilty to the misdemeanor charges early on. However, the only plea offer the

government was willing to extend was to a felony that he had not been indicated on.

Nevertheless, Mr. Fuller remained willing to plead guilty even to the as yet

uncharged felony. On March 13, 2024, a superseding indictment was issued to

include the additional charge in violation of 18 U.S.C.§ 231. Mr. Fuller pleaded

guilty to that charge. The government did not seek pretrial detention.

         Mr. Fuller has from the beginning acknowledged the wrongfulness of his

conduct and has expressed a desire to plead guilty. The Court may recall that we

advised that Mr. Fuller was intending to plead guilty at several status conferences

and that the delays in entering the plea were caused by the government, not Mr.

Fuller. Counsel for Mr. Fuller was seeking a plea offer from the government and

sought only one substantive change in the offer made by the government. He agreed

that he would take a plea to the felony 231 charge. The only sticking point was that

the government was insisting that Mr. Fuller agree that 4C1.1 (zero-point offender)

did not apply. Counsel could not agree to that since many judges in this Court had

already ruled that it did apply under these circumstances, and counsel had obtained

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the concession that we could ask the Court to apply it in another plea offer at the

very same time. Once the government was able to present Mr. Fuller with a plea

agreement that Counsel did not believe was inconsistent with the law, Mr. Fuller

quickly agreed. And, on June 20, 2024, Mr. Fuller entered a guilty plea to Count 1

charging him with Civil Disorder in violation of § 231(a)(3).1 Mr. Fuller’s co-

defendants chose not to plead guilty, as is their right, and are scheduled to appear

before this court for a jury trial on January 1, 2025.

       On June 20, 2024, immediately following his guilty plea, Mr. Fuller willingly

met with the prosecution and the FBI for an interview in which he was fully

transparent about his actions at the Capitol, made no excuses for his behavior, and

expressed genuine contrition. No suggestion was made that he was in anyway not

truthful. Mr. Fuller has been compliant with the conditions of his release. His

cooperation and demeanor have been positively noted in both the PSR and the

recommendation by the US Probation Office.


   The defendant has been compliant with the terms of his pretrial release and was
   described by his supervising officer to have a very positive attitude.


PSR ¶ 21.


   III.   Application of the Sentencing Factors

          A. History and Characteristics
             1. Background and Family



1 To be clear, counsel is not suggesting government counsel did anything wrong, but rather

includes this information to explain why what should have been a very early plea was
delayed.
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      Nicholas John Fuller, now age 41, was born in Mankato, Minnesota as one of

four children to Kenneth and Linda Fuller. His father, a custodial engineer, retired

after suffering a variety of heart problems. His mother, who worked as a computer

programmer during Nicholas’s childhood, retired in the 1990s after being diagnosed

with chronic fatigue syndrome. For most of Nicholas’s teenage years, she was

confined to a wheelchair but has since improved enough to walk independently and

now acts as the full-time caregiver for Nicholas’s father.

      Nicholas faced numerous challenges during his childhood. He struggled

academically and had a strained relationship with his father, who was controlling

and abusive. Nicholas often rebelled against his father’s constraints, leading him to

frequently runaway from home. He began using methamphetamines when he was

only 13 years old and dropped out of school during his 9th grade year. The substance

abuse and subsequent addiction were directly tied to multiple juvenile convictions

which eventually landed him in prison where he served four years between the ages

of 18 and 22.

      During his imprisonment, Nicholas underwent a profound transformation.

Looking back, he reflects on his sentence as one of the greatest blessings in his life.

While incarcerated, he earned his GED, received his C-TECH degree, regained his

faith, and most importantly completed the TRIAD program which helped him

overcome his drug addiction. Upon his release, Nicholas was educated, skilled, and

clean from drugs. He immediately obtained work in the construction field. Driven

by a sense of duty to give back to society, Nicholas began volunteering as a speaker



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at Boy Scout conventions where he shared his story and his past struggles. He then

began volunteering at Royal Family Kids Camp [RFKC], a camp for neglected and

abused children, most of whom have been in foster care.2

           In 2006, when Nicholas was 23, he met his now wife, Emily, at RFKC where

they were both volunteering during the same week of camp. Their connection was

instant, fueled by their mutual dedication to faith and helping others. The two were

married a year later and have enjoyed a loving and supportive marriage ever since.

They have six children together: two boys and four girls - ages 5, 8, 10, 14, 15, and

16. Nicholas considers their children to be his greatest accomplishments. All six

children excel in school and are involved in multiple extracurriculars.


                   2. Employment and Work Ethic
           Nicholas is a hard worker with a strong work ethic. He has consistently been

employed since the week after he was released from prison nearly twenty years ago

in 2005. After working several years in the construction field, Nicholas obtained

employment at Nielsen Blacktopping in 2013. He started out as a laborer/truck

driver earning $17/hour and eventually earned a Class A driver’s license which

allowed him to advance within the company, acquiring several promotions to

become a road construction equipment operator earning $39/hour. Nicholas

currently works 50-60 hours per week with a typical schedule of 6am to 6pm.

During the winter months when Minnesota weather impacts road conditions, it’s




2
    Royal Family Kids Camp (Ages 7-11) - Love Fosters Hope

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not uncommon for him to work up to 70 hours or more per week. His employer and a

coworker have both written in support of him. (See Exhibit 1, Letters).

               3. Church and Community Involvement
      Despite working long hours and being the sole financial provider for eight

people while also parenting six children with Emily, Nicholas remains committed to

his community. Besides attending church every Sunday with his family, he

dedicates his Wednesday nights to volunteering there, where he leads group

activities, games, and sports for children. (See Exhibit 1, Letter from Megan

Gilbertson).

      Nicholas has also taken on the role of mentor to a formerly incarcerated

individual at a local group home. He offers support and guidance whenever needed

and makes visits as often as his schedule permits. Nicholas believes his past

experiences make him a good candidate to help others who have faced similar

challenges, and he is determined to transform adversity into positive change.

      Although his busy schedule has prevented him from continuing volunteer

work at RFKC [now known as RFK], Emily has recently resumed her volunteer

work there. Nicholas supports her by taking on all parenting responsibilities during

her absences, and he hopes to return to RFK as a volunteer himself again one day.

      Mr. Fuller has shared with counsel that he believes he was given a second

chance in life following his juvenile convictions and his rehabilitation. He truly

believes it is his duty to “give back,” not just by raising his own children to be

exemplary citizens, but also by doing his part to have a positive impact on society.

This is not something that has been done to impress or draw sympathy from the

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Court. Indeed, Nicholas has been striving in these endeavors since his release from

prison in 2005, and will continue to do so, regardless of the sentence imposed in this

case.

              4. Criminal History, Mental Health and Substance Use
        Mr. Fuller is a zero-point offender, and for good reason. Although he has prior

convictions, most of them were juvenile offenses linked to his childhood struggles

with drug addiction, and all are very dated. These convictions should not influence

his current sentencing, a sentiment reflected in the recommendation by the US

Probation Office:


        The defendant has a notable criminal history, specifically as it relates to
        illegal substance use, with which he has struggled. However, the criminal
        history is dated, and it does appear that the defendant has made notable
        strides since his last conviction in 2009…

ECF 68, Probation Recommendation.

        Mr. Fuller has taken responsibility for his mental health by seeking

counseling as an adult where he has reflected on his past and his difficult

upbringing. In February of 2023, Mr. Fuller was advised by his therapist to use

marijuana to treat anxiety (which is confirmed by medical records and noted in the

PSR at ¶99). Despite this recommendation, he stopped using marijuana following

his arrest to comply with the conditions of his release, though he did use it on one

occasion after that, which he openly admitted during his PSR interview. Mr. Fuller

very rarely consumes alcohol, and when he does it’s nothing more than an

occasional beer. The Government implies that Mr. Fuller used methamphetamines

up until 2018, but this is simply not true. Mr. Fuller overcame his drug addiction

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while incarcerated over 20 years ago. He had a one-time slip up in 2018 – which he

was fully transparent about while speaking to the United States Probation Officer.

Mr. Fuller regretted the decision within moments of the substance entering his body

and has no intention or desire to ever use it again.


          B. The Nature and Circumstance of the Offense

             1. Planning for January 6th
      Like many others who traveled to Washington D.C. to attend the Trump

rally, Mr. Fuller did so because he believed there were irregularities in the election

which is what he had been hearing on the news and in his community. He wanted

to support Trump by showing up to the rally. He also wanted to visit the city and

see the sights which is something he had never had an opportunity to do before.

There was no intention of visiting the capitol building (aside from to take

photographs of the building along with the many other historical buildings and

monuments in the city).

      The trip was a spontaneous decision. Aside from his co-defendant family

members with whom he planned the trip, Mr. Fuller did not coordinate with any

other groups, nor did he post anything about the upcoming rally on social media. He

is not associated with any extremist groups, or even with any online political

groups. Mr. Fuller had never been to Washington D.C. before, nor had he ever

attended a rally or protest of any kind. In fact, he had rarely left his own state and

the last time he had traveled for anything outside of work was in 2012 when he took

his wife and children to visit extended family in Georgia.


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      Mr. Fuller used part of his stimulus check to fund the trip to Washington

D.C., though to be clear, he spent very little money on the trip. The main expenses

were gas and food. He and his brother and nephew had planned to sleep in their

vehicle to avoid costly lodging expenses. They drove from Mapleton, Minnesota to

Washington D.C. on January 5th. Shortly after they arrived, they were offered a

free hotel room by a stranger who noticed them giving food to a homeless man.

      The government implies that Mr. Fuller had a plan to commit crimes in D.C.,

and that he left his family behind to do it. They state the following:


      “Nevertheless, he traveled to Washington, D.C. to commit these crimes leaving
      his family behind. Fuller committed the crime because he chose to place his
      opposition to the government above all over concerns, including the law and
      his own family.”
Govt. Sentencing Memo at 16. This statement is unfair and highly misleading. Mr.

Fuller never intended to commit any crimes in the District. Nor did he “leave his

family behind” or put “his opposition for the government” ahead of his family. Mr.

Fuller drove to Washington D.C. with his brother and nephew to attend a rally

where they planned to sleep in their vehicle to save money and be away from home

for less than 36 hours. Of course he wasn’t going to bring six children somewhere to

sleep in a car. In fact, unlike others who brought their children into the Capitol that

day, Mr. Fuller did the responsible thing and did not bring his children even to the

rally. One can only imagine what the government would have said if he had brought

his six children with him to the Capitol that day. Obviously, he regrets that he

decided to come and even more importantly that he went to the Capitol grounds and




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acted in the manner he did. And he regrets that those actions have placed his

family in jeopardy, but that was not his intention.


               2. Actions on January 6th
      In many other January 6th cases, defendants are generally grouped into two

categories regarding their arrival to capitol grounds: those who left the rally early

and either witnessed or participated in the initial breaches at or before 1 p.m.; and

those who left the rally after Trump’s speech ended at 1:10 p.m. and arrived with

the massive crowd between 1:30 p.m. and 2:30 p.m. Even people arriving as late as

2:40 p.m. would have been able to watch from the lawn as the crowd made the final

push to overtake the lower and upper west terraces while police retreated. Mr.

Fuller was not in either of those categories. He arrived at 2:59 p.m., after the lower

west terrace was completely overtaken, after the crowd had flooded the building,

and after the upper west terrace had then been generally re-secured by law

enforcement.

      Similarly, in many other January 6th cases, the government highlights the

level of violence and/or chaos that each defendant witnessed before deciding to stay,

participate, or continue moving forward undeterred. But this factor is also not

applicable to Mr. Fuller in the way it is to most others. When he arrived on Capitol

grounds, there was nothing to see from the ground on the west front aside from a

giant crowd of people.


Prior to arriving on capitol grounds:




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      Mr. Fuller attended the rally at the Ellipse where he listened to the speeches.

He wore regular civilian clothing and did not bring weapons of any kind – real or

makeshift. He did not carry flags. After Donald Trump finished speaking,

thousands of people walked east toward the Capitol. Mr. Fuller and his co-

defendants did not follow them. Instead, they went the opposite direction. They

walked to the Lincoln Memorial where Mr. Fuller took photographs of his brother

and his nephew.




Meanwhile, at the capitol and while the Fullers were still sightseeing, the crowd

eventually overtook the west front. Mr. Fuller was not there to witness the following

progression:




Alternate angles of the west front crowd progression prior to the Fullers’ arrival:




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By 2:53pm, and still prior to Mr. Fuller’s arrival, law enforcement had retreated

and formed new lines across the upper west terrace. These lines remained

stationary after this point. When the police lines later did move, they only moved

forward, pushing people out.

Image below shows aerial view at 2:53pm with red lines showing law enforcement’s
positions on the upper west terrace.




Anyone arriving to Capitol grounds after 2:53pm understandably may have

assumed that the police lines had originated on the upper west terrace. And when

Mr. Fuller arrived, it was indeed his understanding that the line represented the

“restricted perimeter.” This does not in any way excuse his disorderly conduct and

his impeding of the Officers who were trying to clear the area.


Actions at the Capitol:


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      At 2:59 p.m., Mr. Fuller entered capitol grounds at Garfield Circle.


Image below taken from surveillance video at Garfield Circle at 2:59 p.m. Note that
the visible fencing is surrounding the actual monument and the grass (these
particular barricades were to protect the monument and were not blocking entry to
capitol grounds)]. Right side image shows the west front at this same time with red
circle showing Mr. Fuller’s general location.




Mr. Fuller eventually walked up the SW staircase. He walked directly from the

ground level to the upper west terrace using the staircase and therefore did not

travel anywhere on the lower west terrace where the “tunnel fight” was taking place

– another incident he never witnessed.

      When he arrived at the top of the SW stairs, he saw a group of law

enforcement standing calmly in a line behind a row of bike racks; and a group of

protestors standing generally peacefully in front of that line. This was the first time

that Mr. Fuller had seen any law enforcement officers on January 6th. Officers were

clearly standing in a line to prevent the crowd from advancing. Mr. Fuller stopped

short of the line and joined the crowd by standing a few steps down.




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      At the time, Mr. Fuller did not appreciate that many of these MPD officers

were the same offices who had earlier been outnumbered and overrun by protestors.

He didn’t know that many of them had retreated up the very same steps he had just

climbed, nor did he know that some of them had been violently assaulted on the

west front. He knew, from speaking to others, that some people had entered the

building, but he assumed it was a small group of unruly individuals.

      For the next 29 minutes, Mr. Fuller stood in this same location. At times,

some people in the crowd around him made derogatory remarks toward the officers,

but Mr. Fuller was not a part of that. He remained mostly quiet, occasionally

chatting with those around him or taking photos using his phone.

      At one point, Mr. Fuller assisted law enforcement by removing a potential

weapon from the crowd -- at 3:44pm, after a nearby protestor set a metal pole on the

ground, Mr. Fuller picked it up and gave it to law enforcement by first alerting

them and then carefully sliding it under the bike racks.




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Just after he slid the pole to officers, another protestor admonished him for

assisting law enforcement, shouting, “What are you fucking retards doing?... Don’t

give them that shit!” Mr. Fuller responded to the man by saying, “Why, so you can

go to jail?” He then joked with the officers that it was his own fingerprints that




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were now on the pole.




      At 3:55pm, the Fullers left the area and walked north along the upper

terrace, passing underneath the bleachers. They were not stopped from wandering

by law enforcement. On their way, Mr. Fuller’s brother Ken assisted officers by

handing them a large bike rack that had been lying on its side on the steps.




Mr. Fuller never approached the officers in this area.


Image below is at 4:06pm which is the closest that Mr. Fuller (orange circle) came to
law enforcement in this area.

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The Fullers eventually left the area underneath the bleachers and came out on the

opposite side from where they entered. When they emerged, they were on the upper

terrace just above the northwest steps. Here they found a similar scenario as they

had seen on the southwest steps… a stationary line of law enforcement and a crowd

of people. However, both the crowd and police presence were significantly larger on

this side. Again, Mr. Fuller assumed this line of officers had been standing here in

this spot for the entire day. He was unaware that this group of officers (mostly

Arlington County PD and Montgomery PD) had recently arrived as backup to assist

MPD in clearing the terrace.

      At this point, Mr. Fuller made the foolish decision to stand at the front line of

officers, and later resisted when the officers began clearing the terrace. But it’s

important to note that when Mr. Fuller approached the line, he did not do so

aggressively. He had no intention of pushing or breaching the line and he certainly

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didn’t want to get past the line so that he could go inside the building. To put it

simply, Mr. Fuller’s intentions were to participate by standing there as a body in

the crowd.

      Mr. Fuller stood at the line in front of Arlington County Police Officer J.M.

The government points out that he jostled with Officer J.M.’s shield at one point.

This is accurate and Mr. Fuller does not deny it. However the screenshot used as

evidence by the government implies that this was forceful, which it was not. Mr.

Fuller was chatting with and smiling at Officer J.M. when he put his hands on the

shield. Ofc. J.M. gently pushed the shield a few inches forward, and Mr. Fuller

gently pushed it back. The two did a little back and forth like this and that was the

end of it. This interaction was non-aggressive and non-threatening, albeit a stupid

thing to do.




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       The government accurately points out that Mr. Fuller stood within full view

of the police line, alternately praying, chanting, and using his phone to take

photographs or video. It should be noted that during this time, none of the officers

told him to leave or that he shouldn’t be there. Furthermore, his demeanor was

peaceful and friendly. Of course this does not absolve him of his crime, but it

differentiates him from so many others around him who were verbally harassing

the officers, calling them cowards, traitors, and worse. At one point, Mr. Fuller took

a selfie with Officer J.M.




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When he smiled and laughed and took selfies with the officers, he was not mocking

them. Mr. Fuller holds the police in high regard and he found them to be

impressive. Of course the officers may not have been equally impressed with Mr.

Fuller, but they did not seem to be threatened by him individually either. He now

recognizes that even when he was not acting aggressively, as a part of the larger

mob, his actions indeed impeded the officers and made their job that day dangerous

and nearly impossible to carryout. And for that, he is deeply sorry.

      At 4:21 p.m., the officers indicated that they were preparing to push the

crowd forward. Instead of moving, Mr. Fuller made the foolish and unlawful

decision to remain where he was. The government summarizes the interaction as

follows:


      At approximately 4:21 p.m., the police repeatedly ordered Fuller and other
      rioters to move back and began stepping towards the rioters while striking
      their riot shields on the ground. Rather than comply, Fuller initiated physical
      contact with the police line, actively resisting their enforcement efforts for over
      a full minute.
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Govt. Sentencing Memo, at 2. This statement is generally accurate except for the

implication that he initiated physical contact with law enforcement. He resisted

their efforts to clear the area and by doing so, impeded law enforcement during a

civil disorder. When Mr. Fuller realized that officers were getting ready to push, he

kneeled down on the ground which obstructed their ability to clear the area.




Just moments before the officers pushed forward, Mr. Fuller – while still on his

knees – turned his body to the side.


Body camera footage from Ofc. A.G., noting that the hand on Mr. Fuller’s shoulder
belongs to the protestor next to him and not law enforcement.




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As the police moved forward, Mr. Fuller resisted by remaining in this position, and

raising his arm and elbow, making contact with police officers and leaning his body

against them when they pushed forward. While resisting the push, Mr. Fuller never

put his hands on officers. Although he did raise his arm and elbow while resisting

the push, his hands were on other protestors.


Images below show Mr. Fuller leaning into the man next to him and grasping that
man’s red sweatshirt.




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Finally, during the incident Mr. Fuller was being pushed from the other direction,

not only by the crowd in general, but specifically by another protestor, which is

evident in the image below (noting also that this protestor was actually pushing Mr.

Fuller to the side and not directly against law enforcement):




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The images above are included to provide the Court with additional angles – they

are not intended to contest Mr. Fuller’s guilt or to place blame on anyone else.

Again, there is no dispute that he broke the law or that physical contact was made.

But Mr. Fuller’s role in this incident should be fully understood in consideration of

his sentence, as well as in the application of the three-point physical contact

enhancement. Mr. Fuller was not an assailant, and aside from the one minute

during which he resisted police, he was peaceful. This is supported by Officer J.M.’s

FBI interview following January 6th, in which he did not recall any specific

altercations with individuals. Officer J.M, like Mr. Fuller, arrived late and didn’t

experience or witness the turmoil that had occurred prior to his arrival. The

following includes Ofc. J.M.’s entire interview (noting that the wooden object

striking his shield is unrelated to Mr. Fuller)3:




      After the incident on the steps, and before leaving capitol grounds, Mr. Fuller

returned to the police line - which he openly and honestly admitted to the FBI. He

did not engage in any violence during that time. He left the steps and departed



3
 Interview obtained by defense in Global Discovery, [FBI-053-00633738]. Officer name was
redacted by defense to protect the privacy of this officer.
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capitol grounds when an officer specifically told his brother Ken that they should

leave.

After leaving capitol grounds:

         The Fullers drove back to Minnesota that same afternoon, immediately after

leaving capitol grounds. Mr. Fuller learned the full extent of the rioting and

violence that had occurred when he listened to the radio on the way home and later

watched footage on the news. Although many January 6th defendants report similar

experiences, claiming they “didn’t know how bad it was” until they saw it on

television, Mr. Fuller’s account is more credible given his very late arrival time to

Capitol grounds. Upon learning the full scope of the day, Mr. Fuller felt a great

sense of shame, remorse, and embarrassment for having been a part of the day at

all, and even more so for his specific actions.

               3. Actions following January 6th
         Mr. Fuller has demonstrated real remorse for his actions, and it is completely

unfair to suggest that this remorse is not genuine or only came about because of his

impending sentencing. He never suggested that what he had done was acceptable,

he didn’t claim that his actions were patriotic, and he didn’t minimize what he had

been involved in. He posted nothing on social media. He recognizes that January 6

was a dark day for the nation. Like many people, after he left Capitol grounds that

day, he went about his normal life. Unlike many, he didn’t post on social media

bragging about his actions. He cooperated fully upon his subsequent arrest. Rather

than become bitter or resentful or even proud of his actions that resulted in his

arrest, he resolved to accept responsibility for what he had done and to face the

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challenges that were before him as an adult and to set a good example for his

children. He was honest and forthcoming with the government and the FBI during

his interview and expressed his regret for participating in the events of the day, and

he truthfully acknowledged his wrongdoing as well as expressed remorse when he

spoke to the U.S. Probation Officer.

   IV.      Objections to the PSR

            A. Mr. Fuller qualifies for the “zero point offender” adjustment
         Effective November 1, 2023, the United States Sentencing Commission

created a new guideline provision relating to criminal history at U.S.S.G. § 4C1.1,

Adjustment for Certain Zero-Point Offenders. Section 4C1.1 provides for a two-level

decrease from the offense level for defendants who did not receive any criminal

history points so long as they meet the following criteria:

         1. the defendant did not receive any criminal history points from Chapter Four,
         Part A;
         2. the defendant did not receive an adjustment under §3A1.4 (Terrorism);
         3. the defendant did not use violence or credible threats of violence in
         connection with the offense;
         4. the offense did not result in death or serious bodily injury;
         5. the instant offense of conviction is not a sex offense;
         6. the defendant did not personally cause substantial financial hardship;
         7. the defendant did not possess, receive, purchase, transport, transfer, sell, or
         otherwise dispose of a firearm or other dangerous weapon (or induce another
         participant to do so) in connection with the offense;
         8. the instant offense of conviction is not covered by §2H1.1 (Offenses Involving
         Individual Rights);
         9. the defendant did not receive an adjustment under §3A1.1 (Hate Crime
         Motivation or Vulnerable Victim) or §3A1.5 (Serious Human Rights
         Offense); and
         10. the defendant did not receive an adjustment under §3B1.1 (Aggravating
         Role) and was not engaged in a continuing criminal enterprise, as defined in
         21 U.S.C. § 848;



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U.S.S.G. § 4C1.1(a); see also United States Sentencing Commission, Amendments to

the Sentencing Guidelines (Apr. 27, 2023), at 87-88 (Part B, Subpart 1).

      The Zero-Point Offender applies to Mr. Fuller. He has no criminal history

points and none of the exceptions apply to his conduct. The government concedes

that he has no criminal history points but opposes the two-level reduction because

the government alleges that Mr. Fuller used violence or credible threats of violence

in connection with the offense. He did not. While there was a tremendous amount of

inexcusable violence that day, Mr. Fuller did not himself engage in violence or

threaten violence. And that is what matters in assessing whether 4C1.1 applies.

      The Sentencing Guidelines Manual itself does not define the term “use

violence or credible threats of violence” within § 4C1.1 or its commentary. And

when no definitions are provided, courts look to dictionary definitions to determine

meaning. See Kaufman v. Nielsen, 896 F.3d 475, 485-87 (D.C. Cir. 2018). Courts in

this district have issued several opinions discussing dictionary definitions of

violence when considering § 4C1.1 and found that violence is “‘[t]he use of physical

force, typically ‘accompanied by fury, vehemence, or outrage,’ and ‘unlawfully

exercised with the intent to harm’” or the “exertion of any physical force so as to

injure or abuse.” Bauer, 2024 WL 324234, at *2 (quoting Violence, Black’s Law

Dictionary (11th ed. 2019), and Violence, Webster’s Third New International

Dictionary (1993)); see also United States v. Yang, No. 23-cr-100 (JDB), 2024 WL

519962, at *4 (D.D.C. Feb. 9, 2024) (similar); United States v. Hernandez, No. 21-cr-

445 (CKK), ECF No. 65 at 5 (D.D.C. Jan. 31, 2024) (similar). There is no evidence



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that Mr. Fuller had any fury or vehemence, nor did he exert force as to injure or

abuse or intended to injure or abuse.

      Courts in this District to have addressed the issue have found that §

4C1.1(a)(3)’s violence exception requires the defendant to have personally used

violence or made credible threats of violence to be disqualified; it is simply not

enough that Mr. Fuller was part of a group where others engaged in violence or

made credible threats of violence. See, e.g., Yang, 2024 WL 519962, at *4 (rejecting

the government’s violence-by-presence theory of § 4C1.1(a)(3) after finding the

“inquiry turns on the actions of the defendant himself or herself, not the actions of

others,” and “join[ing] the view of at least six other judges in this District,”

including Judges Kollar-Kotelly, McFadden, Friedrich, Mehta, Howell, and

Boasberg). See also, United States v. Joshua Doolin, 21-CR-447-3 (CJN) Dkt. 313,

adding Judge Nichols to the list of judges who concur and United States v. Paul

Orta, 21-cr-146 (DLF) adding Judge Friedrich. (See Exh. 2, Transcript of Orta

Sentencing).

      Judge Bates’ written opinion in Yang is instructive. (See Exh. 3). There, Mr.

Yang “stood near the front of the crowd close to the police line” in the Rotunda.

Yang, 2024 WL 519962, at *1. While Mr. Yang’s “body language was generally

nonconfrontational,” he made “physical contact with officers twice.” Id. First,

“[w]hen a scuffle broke out nearby . . . Yang briefly grabbed an officer’s wrist.” Id.

Second, “[w]hen an officer approached from the side and pushed [another rioter]

firmly with a baton, Yang . . . briefly grabbed the baton as [the other rioter] fell



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backward.” Id.4

       The government included the following still photographs in its sentencing

memorandum, ECF No. 34 at 11:




4
 According to the government’s sentencing memorandum, “When police officers formed a line
to expel the rioters from the Rotunda, Yang refused to move back or to leave, and instead,
obstructed the officers. Yang pushed back and physically grabbed the arm of one officer, and
when another officer pushed Yang towards the exit, Yang confronted the officer and waved his
hand in his face instead of leaving. He remained near the advancing police line, and when an
officer used his baton to push another rioter back, Yang physically grabbed hold of that officer’s
baton and interfered with the officer’s attempt to clear the Rotunda. Yang finally exited the U.S.
Capitol building at approximately 3:15 p.m., having been inside for roughly 30 minutes.” Yang,
No. 23-cr-100, ECF No. 34 at 2.

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      The government further represented that Mr. Yang “push[ed] back against

the officers” and “remained at the front of the mob clashing with the officers,” id. at

12:




      Judge Bates concluded that Mr. Yang’s actions did not constitute “violence”

within the meaning of § 4C1.1. Yang, 2024 WL 519962, at *4. Yang “stood near the

front of the crowd close to the police line. While his body language was generally

nonconfrontational, he made physical contact with officers twice.” He grabbed a

police officer’s wrist and grabbed the baton of an officer as he was pushing another

rioter away. The Court found that while Mr. Yang may have used physical force in

that “he briefly made physical contact with two officers, the Court [found] that this

contact was not made with an intent to harm.” Id. “Nor was this contact


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accompanied by ‘fury, vehemence, or outrage,’ or the like.” Id. As the Court

explained, “[t]he throughline of the definitions of ‘violence’ is a degree of

aggressiveness that [wa]s not present in th[at] case.” Id. And, even though Mr.

Yang was “near the front of the line opposing the line of officers,” and twice made

physical contact with officers, the Court concluded that “Yang did not act with the

degree of aggression necessary to fairly characterize his actions as ‘violence.’” Id.

         Similarly, in Orta, the government conceded that the Yang standard was

appropriate,5 but argued 4C1.1 did not apply because of two incidents – one, his

pushing of the metal bicycle barricade against officers and second, his subsequent

throwing of a Go-Pro or body worn camera at officers. The Court ruled against the

government and applied 4C1.1.

         You can have the intent to impede and get around, but not necessarily the
         intent to hurt. And I don’t know if just the natural and probable consequence
         of pushing on a barricade could cause injury is enough, whether you have to
         show the specific intent, I think, here to injure. . . So I do think that . . .
         there’s got to be more than just aggression. It’s got to be aggression plus a
         specific intent to injure. . . . I don’t know that simply saying that you’re
         pushing against a barricade and that’s a dangerous object that could injure is
         enough.6

And this was the finding despite the fact that the Court specifically found that in

that case there was “great aggression, great fury, great outrage, great physical

force,7” and a throwing of an object - none of which is present in this case.



5 The Court referred to the definition of violence as “the use of physical force typically

accompanied by fury, vehemence, or outrage and unlawfully exercised with the intent to
harm, also defined as the exertion of any physical force so as to injure or abuse.” The
government conceded this definition was appropriate. See Exh. 2 at p. 7.
6
    Transcript at 34-36
7
    Id. at 37
                                               31
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         The government in Orta in attempting to distinguish Yang emphasized that

in Yang the confrontation took place as officers were trying to clear an area –

exactly what happened here. In Orta, the government pointed to other aggressions

by Mr. Orta (e.g., throwing of the metal barricades and aggressive language) as

evidence of his intent to cause harm. There were no such other aggressions here. In

fact, there was the opposite. Mr. Fuller attempted to remove the chance of violence

by passing a weapon he found to the police and chastising a fellow rioter who

suggested he should not have done so. The government also focused in on Orta’s

throwing of the body camera – something that is far more aggressive than what Mr.

Fuller did.

         In Orta the government said, “I can appreciate that if the officers are

attempting to clear an area, that that is, you know, perhaps a different kind of

contact.”8 That is the contact that happened in Mr. Fuller’s case. Unlike in Orta,

here the government’s sole argument just that “he forcefully pushed his body

against the line of officers protecting the Capitol building.”9 That is far less than

they had in Orta and is not enough.

         The requirement that the Government has conceded applies, requires a

finding that Mr. Fuller intended to harm an officer. That is simply not the case

here. The same reasoning as applied in Yang and Orta applies with even more force

here. Mr. Orta threw an object at the police. Mr. Orta made aggressive comments.




8
    Orta Transcript at 8
9
    Govt. Sentencing Memo at 13.
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And still, the Court found that he did not intend to harm the police and thus 4C1.1

applies. Mr. Fuller did neither. When viewing Mr. Fuller’s individual conduct on

January 6, he did not use “violence” as that term is properly understood. Mr. Fuller

did not punch, kick, grab, or throw any objects at law enforcement officers. At no

point did he damage property, threaten others, yell at anyone, or encourage others

to use violence or even to push forward. Given the indisputable fact that Mr. Fuller

did not engage in any acts of violence, the government appears to be advocating for

a January 6th exception to the Guideline amendment. Had the Sentencing

Commission wanted such an exception they could have written it in as this

amendment was promulgated years after January 6, 2021. They did not.

      The “physical contact” enhancement that Mr. Fuller agreed to in the plea

agreement is far broader than § 4C1.1(a)(3): whereas § 2A2.4(b)(1) applies if “the

offense involved physical contact,” §4C1.1(a)(3)’s violence provision applies only if

“the defendant . . . use[d] violence or credible threats of violence.” The contrast

between these provisions’ subjects (i.e., “defendant” versus “offense”) and the

operative verbs (“use” versus “involves” or “results”) makes clear that the inquiry of

§ 4C1.1(a)(3) “turns on the actions of the defendant himself or herself,” unlike §

2A2.4(b)(1) which theoretically can consider “the actions of others.” See Yang, 2024

WL 519962, at *4 (D.D.C Feb. 9, 2024); cf. United States v. Hernandez-Barajas, 71

F.4th 1104, 1106-07 (8th Cir. 2023) (interpreting similarly-worded threats provision

in U.S.S.G. § 2D1.1(b)(2) and concluding that the “sentence’s subject, the doer of the

action, is the defendant” and that “[g]rammatically speaking, the defendant is the



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one who must make the credible threat, even if it involves the potential use of

violence by someone else”); see also U.S.S.G. § 2J1.2(b)(2) (applying 3-point

enhancement if “the offense resulted in substantial interference with the

administration of justice”); see also United States v. Hernandez, No. 21-cr-455

(CKK), ECF No. 65 at 4 (D.D.C. Jan. 31, 2024) (finding an argument based on the

“2J1.2(b)(1)(B) enhancement . . . not persuasive because it is not focused on

Defendant’s conduct, which is the relevant inquiry” under 4C1.1).


          B. Although the physical contact enhancement applies, it
             overstates Mr. Fuller’s culpability
      Pursuant to the plea agreement, Mr. Fuller has stipulated that a three-level

increase for “physical contact” under USSG § 2A2.4 (b)(1) applies. However, counsel

submits that a downward variance is appropriate on these facts because a three-

level enhancement overstates Mr. Fuller’s culpability.

      As stated in the PSR and outlined previously in this memorandum, Mr.

Fuller indeed resisted the line of officers as they moved forward with their shields.

It’s important to note that it was the officers who moved forward and not Mr.

Fuller. Of course, the officers had every right to push forward as they were

attempting to clear the terrace of protestors, and Mr. Fuller most certainly should

have backed up instead of deliberately remaining in their way. But Mr. Fuller made

physical contact with the officers when he raised his arm up while being pushed.

Yes, he likely leaned in and technically this could be considered “pushing” so is

therefore not disputed. But he was not an aggressor and he was not an assailant.

And despite what the government claims, he was not the initiator.

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       Furthermore, “physical contact” under 2A2.4 (b)(1)(A) can encompass a wide

range of conduct. While no federal court has defined “physical contact” for purposes

of 2A2.4 (b)(1)(A), the Seventh Circuit has explained that the meaning can “be

derived by examining the law of battery.” Battery is defined as “intentional and

wrongful physical contact with a person.” United States v. Taliaferro, 211 F.3d 412,

415-16 (7th Cir. 2000) (enhancement properly applied where inmate threw a cup of

urine in a prison guard’s face) (internal citations omitted). The enhancement has

been applied in contexts in which the defendant’s contact with a victim was more

aggravated than Mr. Fuller’s. For example, the Ninth Circuit upheld the application

of the enhancement where the defendant kicked the victim correctional officer,

causing him to lose his balance and hit his head. United States v. Hill, 996 F.2d

1228 (9th Cir. 1993); see also United States v. Martinez-Alvarez, 422 Fed. Appx. 356

(5th Cir. 2011) (affirming application of physical contact and bodily injury

enhancements where defendant was convicted of assault on an officer and the

assault caused painful swelling and bruising to the officer’s knee and arms.). Here,

where Mr. Fuller made contact, but did not intentionally assault an officer, and did

not injure an officer, the Court should vary downward because a three-level

increase to the offense level overstates the nature of his conduct.

      Should the Court apply the zero-point offender adjustment and a one-level

variance because Mr. Fuller’s physical contact was indirect or not injurious, the

total offense level would be 8, yielding a guideline range of 0 to 6 months.




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      V.     A Probationary Sentence with a period of home detention or
             community service will achieve deterrence while avoiding
             significant disruption and hardship to Mr. Fuller’s family.
      Mr. Fuller is the primary financial provider for his family. If he is sentenced

to even a short period of incarceration, he will be unable to earn a paycheck and his

family will struggle tremendously. If he is sentenced to a lengthy period of

incarceration, the family will very likely lose their home. The Fuller family’s

monthly expenses exceed $5,000, with a significant portion going toward their

mortgage. Emily, Mr. Fuller’s wife, works part time as a server earning around

$800 per month. The restaurant where she works has recently changed ownership

and her position is no longer guaranteed. Even if Emily were to secure new

employment, she lacks the skills and experience required to find a job that could

cover their monthly expenses. Moreover, Emily would not be able to work full-time

without hiring childcare, an expense that would likely deplete or outweigh any

potential earnings.

      The government implies that Mr. Fuller is a man of substantial wealth, citing

that he owns multiple vehicles and has a 401k account with over $20,000. Perhaps

this would be a considerable cushion for a very small family, but that is not the case

here. The family owns two cars which are necessary to get Mr. Fuller to his job and

his children to their activities. One of those vehicles has over 220,000 miles and will

of course need to be replaced soon. Mr. Fuller does own a motorcycle, though he

rarely uses it and plans to sell it when it’s time to replace the family car and/or to

cover expenses. With regard to his 401k account (and regardless of the sentence

imposed), Mr. Fuller’s retirement will not be used to provide a luxurious retirement
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for himself and Emily – they will be using any and all of their savings to send as

many children as possible to college or trade school. But if Mr. Fuller is

incarcerated, Emily would be forced to cash out the 401k (which would be decreased

after paying early withdrawal penalties) and attempt to make it last for as long as

possible… which would realistically only be a few months. After that, she’d be

forced to sell off the assets, including the home, and then attempt the difficult (if not

impossible) task of finding a property owner willing to rent to a mother of six with

minimal income and an incarcerated felon husband… yet the government falsely

suggests that a sentence of 11 months incarceration would somehow not leave his

family bereft.

      Aside from being the sole financial provider, Mr. Fuller plays an essential

role in supporting Emily with child-rearing and parenting duties. Surely the

absence of a parent causes significant disruption in almost any family situation, but

with six school aged children the circumstances here are unique. Nicholas and

Emily work together systematically to share or divide duties… everything from

cooking, grocery shopping, helping with homework, and driving the children to

activities and appointments. Aside from school, the six Fuller children are

collectively involved in drama, choir, FFA, football, wrestling, track, and

cheerleading. Each of these activities requires transportation. To think that one

parent could do this alone is simply not realistic. Mr. Fuller’s parents are not

physically well enough to pitch in with childcare; and Emily’s parents live over an

hour away. In short, a sentence of incarceration for Mr. Fuller would present the



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greatest hardship and punishment to his wife - who is innocent. It is not lost on Mr.

Fuller that his own actions are to blame - he takes responsibility for this and only

asks the Court to consider the ripple effects that even a short period of incarceration

could have on his family. Mr. Fuller’s past imprisonment turned his life around for

the better. A second imprisonment now would have the opposite effect. It would

unravel his life and undo all the progress he has made.

       Mr. Fuller has indeed already begun to face consequences for his actions.

After dedicating 20 years to turning his life around, staying on the right path, and

committing to his faith and family, he was devastated to be arrested for a federal

crime. The anxiety over the prospect of his wife and children suffering for his

mistakes is more than sufficient to deter him from ever again having a lapse of

judgment like he had on January 6th. Furthermore, Mr. Fuller has stepped away

from following political news and has no desire to ever participate in any type of

rally or protest again. It’s safe to say that January 6th, 2021, was his first and last

protest.

   With respect to general deterrence, the government’s widespread prosecution of

nearly everyone who entered Capitol grounds should serve as a deterrent to others

in future elections. Research has consistently shown that while the certainty of

being caught and punished has a deterrent effect, “increases in severity of

punishments do not yield significant (if any) marginal deterrent effects.”10 In short,




10 Michael Tonry, Purposes and Functions of Sentencing, 34 Crime & Just. 28 (2006),

available at https://scholarship.law.umn.edu/faculty_articles/495 .
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the most effective deterrent is the certainty of punishment, rather than its length.11

One would certainly hope and expect that general deterrence has been met by the

government’s dogged pursuit of everyone who participated in the January 6th

insurrection.


   VI.      A Below Guidelines Sentence would avoid Unwarranted
            Disparities
         The guidelines are not mandatory and can lead to a sentence that is greater

than necessary to accomplish the goals of sentencing. In this case, a sentence below

the guidelines would accomplish those goals and would not lead to disparity. While

no two cases present the same combination of bad acts and mitigating factors, a

comparison of Mr. Fuller’s participation and circumstances supports a lower

sentence.

         First, there have been several cases that involved the same charge of a

violation of Civil Disorder that resulted in a non-custodial sentence or a sentence of

intermittent confinement. The defense submits that Mr. Fuller’s actions were less

egregious than all of these individuals:


United States v. Benjamin Cole (23-cr-113-TNM):

         Benjamin Cole, a member of the Guardians of Freedom, joined in the lower

west terrace “tunnel fight” by pushing against other protestors. Cole wore a tactical

vest and carried a black expandable metal baton. Mr. Cole joined protestors in



11 4 See, e.g., The Growth of Incarceration in the United States 131 (Jeremy Travis et al.

eds., 2014); Five Things About Deterrence, Nat’l Inst. of Just.,
https://nij.ojp.gov/topics/articles/five-things-about-deterrence
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attempting to forcefully push through the police line at the tunnel entrance to the

Capitol. After January 6, Cole posted messages to his Facebook calling the FBI a

“joke” and claiming that he did “absolutely nothing” at the Capitol. The first time

he was interviewed by the FBI, he denied coming near the Capitol.12 For all of this,

Cole was sentenced to 14 days of intermittent confinement.


United States v. Timothy Hart (21-cr-540-PLF)
      Defendant Hart was convicted of Civil Disorder for joining rioters to overrun

barriers manned by police in the very first early breach of the Capitol grounds. He

then ignored the pepper spray around him and made his way into the building,

where he remained for 22 minutes. While inside the Capitol, he smoked marijuana

in the Rotunda.13 The district judge imposed a sentence of 36 months probation

notwithstanding the government’s request for four months incarceration.


United States v. Brian Preller (23-cr-45-TNM):

      Defendant Preller, a member of the “Guardians of Freedom,” an organization

loosely affiliated with the Three Percenters, entered the Lower West Terrace

“tunnel,” where he confronted police officers and pushed against others pushing

against the police line. Preller wore large googles, a helmet, and a tactical vest that

carried what appeared to be a chemical irritant spray in the front. Following

January 6, Preller posted several statements taking credit for January 6, 2021. For

example, when someone asked him what he had been doing, he responded,



12 Government Sentencing Memorandum, ECF 86
13 Government Sentencing Memorandum, ECF 69


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“continuing to build my 3% army so I can overthrow the federal government.”14 The

district judge rejected the government’s request for eight months incarceration and

instead imposed a sentence of 60 months’ probation.


United States v. Richard Zachary Ackerman (24-cr-60-TJK):

      According to the government, Richard Ackerman stole a U.S. Capitol Police

Officer’s helmet and wore the helmet throughout his time on Capitol grounds,

including when he threw a water bottle at officers engaged in intense fighting with

rioters on the Lower West Terrace. He then bragged about his actions in text

messages sent to multiple people and referred to the stolen helmet as his “war

trophy.”15 Ackerman pleaded guilty to Civil Disorder (231) and Theft of Government

Property (641). The government sought the 3 level enhancement for physical

contact. Ackerman’s sentencing guideline range was 10-16 months imprisonment.

He was sentenced to time served (which was two days) and 24 months probation,

not withstanding the government’s request for 10 months incarceration.


United States v. Matthew Council (21-cr-207-TNM):
      Council confronted law enforcement on the west front, then entered the

Capitol building through the Parliament door and assaulted officers by lowering his

head, sticking out his arms and ramming into a line of police officers, pushing them

back.16 He then falsely portrayed his own actions and the actions of those around

him when interviewed by law enforcement. (He was one of few people arrested that


14 Government Sentencing Memorandum, ECF 90
15 Government Sentencing Memorandum, ECF 34
16 Government Sentencing Memorandum, ECF 64


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same day). Ultimately, he pleaded guilty to all charges, including assault and civil

disorder, without entering into a plea agreement. Long after the charges were

brought, he continued to espouse conspiracy theories and held himself out as a

political prisoner. The government requested 30 months incarceration and Mr.

Council was sentenced to 60 months probation.17 It appears from the defendant’s

sentencing memorandum that the significant variance was likely for mental health

reasons or because of perceived differences in the prosecution of these protests and

others, although Counsel does not have access to the transcript.18


United States v. Victoria White (21-cr-563-JDB):
      Victoria White pleaded guilty to Civil Disorder. After observing the violence

at the tunnel, White joined in by first hoisting up another rioter so he could hang

from the archway and kick at the officers, and then moving to the front of the police

line where she acted disorderly enough that officers took her into custody on the

spot. Almost immediately after her release, she took to social media to brag about

her participation as well as blamed police for using force against rioters. According

to the government, she expressed no remorse leading up to sentencing.19 White was

sentenced to 24 months of probation including 8 days intermittent confinement and

three months home detention, notwithstanding the government’s recommendation

of four months incarceration.


United States v. Tyng Yang (23-cr-100-JDB):


17 Judgement, ECF 75
18 Defendant’s Sentencing Memorandum, ECF 66
19 Government Sentencing Memorandum, ECF 89


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          Tyng Yang’s actions are previously outlined in this memorandum regarding

the 4C.1.1. Yang had physical contact with officers twice, including forcefully

grabbing an officer’s wrist. He also remained inside the building for 30 minutes.20

Yang’s guideline range was the same as Mr. Fuller’s. He was sentenced to 24

months probation including 6 days intermittent confinement, notwithstanding the

government request for 11 months incarceration.


          Other Civil Disorder cases demonstrate a similar pattern of sentences well

below the government’s ask:


United States v. James Russell Davis (21-cr-595-TJK):

          Defendant James Davis pleaded guilty to Civil Disorder. However, Davis’s

conduct was far more severe than Mr. Fuller’s in the following ways: Davis arrived

early to capitol grounds and witnessed and participated in violence of the west front

which led to police retreat. He initiated physical contact with law enforcement and

did so multiple times and with multiple officers; Davis carried a large wooden stick

(which also made contact with at least one officer); and he verbally harassed

multiple officers. But perhaps most notably different from Mr. Fuller, Davis was a

member of the Proud Boys, and prior to January 6th he posted messages to other

members encouraging them to “prepare for battle,” as well as encouraged violence

against law enforcement, and finally called for violence at the rally by posting, “LET

THE BODIES HIT THE FLOOR.” While still on Capitol grounds, Davis posted




20
     Government Sentencing Memorandum, ECF 34

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about his actions within his Proud Boys chat group, bragging that he used his stick

to force police to retreat.21 Similar to Mr. Fuller, Davis’s calculated offense level was

11 with a sentencing guideline range of 8 to 14 months’ imprisonment. This

included a 10pt base level offense plus an additional 3pts (minus 2pts for acceptance

of responsibility). However, Davis’s 3pt. enhancement was “Physical Contact or

Dangerous Weapon Used,” even though Davis engaged in both direct physical

contact using his hands and physical contact using a dangerous weapon. James

Russell Davis was sentenced to two months incarceration, notwithstanding the

government’s recommendation of eight months.


United States v. Bernard Sirr (22-cr-259-TNM-1); United States v. Luke Lints (22-
cr-259-TNM-2):

      Bernard Sirr and Luke Lints are examples of individuals with cases similarly

situated to Mr. Fuller. Each had an identical 8 to 14-months agreed-to Guideline

range following their pleas to Civil Disorder. Each received sentences well below

that range. But the actions of both defendants were more egregious than that of Mr.

Fuller. For example, Sirr was a member of his local Proud Boys chapter who drove

to Washington D.C. with his fellow extremists. Prior to January 6th, Sirr posted

several threatening tweets alluding to violence against members of the government,

and on January 6th, he was at the front of the group of rioters in the tunnel pushing

against police officers who were guarding the Capitol. Sirr was eventually repelled;

however, he remained on the grounds and videoed the attack on an officer before



21 Government Sentencing Memorandum, ECF 52


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attempting to enter the tunnel for the second time. Sirr admitted to the FBI that he

attended the rally and tried to enter the Capitol, but lied about his intentions that

day and fabricated his reasoning for attempting to enter the tunnel a second time.22

Sirr was sentenced to two months of incarceration and 12 months of supervised

release notwithstanding the government recommendation of 10 months

incarceration.

      Lints attended the “Stop the Steal” Rally with his mother, after which the

two made their way to the Capitol. On the way, Lints’s mother fell ill and was taken

to the hospital via ambulance. Instead of accompanying his mother to the hospital,

Lints continued his march on the Capitol, entered the restricted grounds and made

his way onto the Lower West Terrace. Lints was in the same tunnel as Sirr and

similarly made his way to the front of the rioters. There, Lints stole a police shield

from officers and proceeded to use it in a coordinated push against the officers. He

stole a second and third shield, and continued to use police gear against the officers

until he was forced from the tunnel. After January 6th, Lints was unremorseful,

posting falsehoods on social media, minimizing his conduct, and calling the police

the aggressors.23 The government also sought 10 months incarceration for Lints.

He was sentenced to 4 months of incarceration, 4 months of home detention,

followed by 36 months of supervised release.


United States v. Stephanie Hazelton (21-cr-00030-JDB):



22 Government Sentencing Memorandum, ECF 53
23 Government Sentencing Memorandum, ECF 58


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      Stephanie Hazelton entered the Lower West Terrace Tunnel three times, all

the while leading and urging other rioters forward and pushing forward against

police officers. Hazelton pushed towards the front of the crowd and confronted the

officers as they were assaulted with poles and batons. She was one of the first

groups to enter the tunnel, and she urged others forward and called for more men to

join the push. In the days following January 6, Hazelton took to Facebook

Messenger to boast about her conduct at the Capitol and state her intent to do it

again. In subsequent messages, she told of erasing content of the events from her

phone.24 Hazelton had an identical 8 to 14-months Guideline range following her

plea to Civil Disorder. She was sentenced to 10 days of incarceration and 24 months

of supervised release notwithstanding the government’s recommendation of 11

months incarceration.


United States v. Anthony Nolf (23-cr-162-BAH):

      Defendant Anthony Nolf pleaded guilty to Civil Disorder and had the same

guideline range as Mr. Fuller which included a three-level enhancement. Nolf

arrived early to Capitol grounds and moved barricades off to the side and then had

indirect physical contact with officers in the tunnel fight. Nolf brought his 15-year-

old son into the tunnel with him, and then only left the area when protestors were

forcefully pushed out by law enforcement after 5pm. He later lied to the FBI about

his conduct and was initially not remorseful.25 He was sentenced to three months



24 Government Sentencing Memorandum, ECF 56
25 Government Sentencing Memorandum, ECF 63


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incarceration followed by 36 months probation notwithstanding the government

recommendation of 11 months incarceration.


United States v. Daryl Johnson (21-cr-407-DLF-1); and United States v. Daniel
Johnson (21-cr-407-DLF-2):
      According to the government, Daryl and Daniel Johnson climbed into the

Capitol through a broken window and remained inside the building for 26 minutes.

While inside, they joined a group of rioters in rushing and shoving aside several

U.S. Capitol Police offers who were guarding the East Rotunda doors from a mass of

additional rioters gathered outside. They then joined others to push against the

police line, sandwiching the officers against the doors. The day after January 6th,

Daryl Johnson posted on Facebook, “… Mark my words Yesterday will be the

beginning of the revolution… what happens when those same people decide to

throw out the ‘elected officials.’ It will be hangings on the front lawn of the Capitol –

that crowd is not messing around.” On February 7th, he posted, “Bring it on Biden!

I have no problem dying in a pool of empty shell casing.” Daniel Johnson also

bragged about his actions on social media, and in a Snapchat conversation admitted

that he was trying to find a way into the Senate chamber.26 Both defendants

pleaded guilty to Civil Disorder, but neither were given the three-level physical

contact enhancement despite the fact that they, like Mr. Fuller, indirectly pushed

officers. Daryl Johnson, with no significant criminal history, was sentenced to 30

days incarceration followed by 12 months probation (government recommended 90



26 Government Sentencing Memorandums, ECF 57 and ECF 58


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days); and Daniel Johnson, a criminal history category II, was sentenced to four

months incarceration followed by 12 months probation (government recommended 4

months). These sentences were both imposed prior to the new 4C1.1 guideline.

United States v. Paul Orta, 24-cr-146 (DLF):


       This case was described at length above in the discussion regarding 4C1.1.

Despite more egregious conduct and no familial obligations, Mr. Orta was sentenced

to 6 months of incarceration. Because Mr. Fuller has significantly different and

more compelling family obligations and engaged in less aggressive actions, a lesser

sentence would be appropriate.


       With respect to Civil Disorder sentences imposed by this Court specifically,

there is only one case to draw from in which the individual was not also convicted

on additional more serious charges such as assault.27 Like the previous cases cited,

the circumstance of this case differ from Mr. Fuller’s, but the comparison should at

the very least emphasize that the government’s recommendation of 11 months

incarceration is far too high:


United States v. Jerry Ryals (21-cr-244-CKK):

       According to the government, “… on his way up the stairs of the Capitol to

break inside, Ryals clearly observed the Capitol Police officers attempting to defend



27 According to the Government sentencing chart, last updated on Oct. 7, 2024 (District of

Columbia | Capitol Breach Cases | United States Department of Justice), this court has
sentenced the following individuals on the Civil Disorder charge: Christopher Grider (21-cr-
22-CKK) on eight additional counts; Salvador Sandoval (21-cr-195-CKK) on eight additional
counts including assault; Kevin Galetto (21-cr-517-CKK) on Civil Disorder and Assault; and
Jerry Ryals (21-cr-244-CKK) on Civil Disorder only.
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the building, and created a video with his cell phone in which he stated: ‘They are

tear gassing, throwing flash bangs, pepper spray, but we will not concede.’; near the

top of the stairs outside of the Capitol, after police officers had been overrun and

people began breaking inside of the Capitol, Ryals filmed another cell phone video,

this time stating: ‘We definitely have enough people to overthrow this bitch. They

don’t stand a fucking chance. We got the fucking doors open up there, I guess. We’re

working our way in slowly but surely.’; Ryals illegally entered through a side door

and approached a locked office door just inside the entrance; after observing that

the office door was locked, Ryals attempted to break down the door using his

shoulder, and was then joined by other rioters who broke through the door; Ryals,

after remaining in the office for approximately 10 minutes, was forced out of the

Capitol by police, but shortly thereafter reentered the Capitol where he remained

for 30 minutes walking to several locations, including the Rotunda and the Crypt;

the next day, on January 7, Ryals posted a statement on Facebook, calling himself a

“patriot” and stating that the country was headed for war.”28 Mr. Ryals did not

accept responsibility early on but did ultimately plead guilty. This Court sentenced

Mr. Ryals to 9 months incarceration, in part because in his post plea debriefing, Mr.

Ryals was not truthful and forthcoming. The opposite is true with respect to Mr.

Fuller. He was fully forthcoming and truthful in his post-plea debriefing as he has

been throughout this prosecution.




28 Government Sentencing Memorandum, ECF 73


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      The defense has not included misdemeanor cases as comparisons because Mr.

Fuller’s offense falls under a felony charge. But surely this Court is aware that

plenty of January 6th misdemeanants conducted themselves with greater sense of

hostility and vengeance than Mr. Fuller, and many of them had malevolent motives

beyond what they were able to achieve. Nevertheless, sentencing guidelines do not

apply to misdemeanants and they are therefore often sentenced to only probation.

And aside from conduct on the day, the same comparison holds true for Mr. Fuller’s

actions both before and after January 6th, which is important. At the time of filing

this memorandum, the upcoming U.S. Presidential election is already contentious

with a very real possibility that the outcome will once again be challenged, and

Courts must consider if a defendant is inclined to repeat offenses in the name of

politics should another lawless event occur. Many other January 6th defendants,

including misdemeanants, have engaged in dangerous rhetoric, even after January

6th,, often spreading misinformation or spinning false narratives online, and some of

them calling for continued violence or even Civil war. Mr. Fuller simply never did

anything of the sort.


   When Mr. Fuller is before this Court for sentencing, the election will have

occurred. Regardless of which candidate is the new president-elect, Mr. Fuller will

not be inserting himself into politics, attending any protests, or joining any

movements. Instead, he will use the opportunity to set a good example for his

children by handling himself with grace and lawfulness. A prison sentence will not

be required to achieve that.


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   VII.   Mr. Fuller’s actions are not comparable to those of the defendants
          who received substantial sentences of incarceration.

   The government has pointed to cases where more substantial periods of

incarceration have been imposed. The defense submits that those cases are not

comparable examples:


United Staes v. Roger Baugh (22-cr-313-JEB):


      Baugh participated in the “tunnel fight” during some of the most violent

incidents. Unlike Mr. Fuller who resisted officers, Baugh was an aggressor and

acted with the intent of breaking the police line so that he could enter the Capitol.

This in itself would be enough to differentiate Mr. Fuller from this defendant, but

Baugh’s actions otherwise were so far beyond the scope of anything that Mr. Fuller

did, the use of this case as something even remotely comparable is not warranted.

For example, Baugh traveled to the Capitol (and entered capitol grounds) with his

co-defendant whom he knew was armed with loaded handguns. After January 6th,

Baugh filed a fake police report claiming that his car was stolen in an attempt to

aid that co-defendant who had lost one of his guns at the capitol (apparently, they

had planned to say that the gun had been in the “stolen car”). Baugh later lied to

the FBI, denying that his co-defendant had stolen a police baton.


United States v. Ronnie Presley (21-cr-257-RDM):


   Ronnie Presley pleaded guilty to Civil Disorder and was sentenced to 12 months

incarceration. He entered the US Capitol and resisted the efforts of law enforcement

to remove the crowd. If this is all Presley had done, perhaps his actions could be

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somewhat comparable to Mr. Fuller’s. But there is far more to the story. Firstly,

when officers tried to push him back, Presley resisted by also moving forward

toward them. One officer pushed Presley a total of seven times because, “after each

push, Presley continued to move toward the officer.” Even after that, Presley

continued to move forward, forcing an officer to deploy his baton to push him away.

He was finally moved out of the Rotunda after law enforcement used chemical

irritant against him. After Presley was outside the building, he aggressively

attempted to re-enter by forcefully grabbing the shield of an officer who was

guarding the door, an offense that has resulted in assault charges for other January

6th defendants. And if that all weren’t enough to discredit this case as a comparator,

Ronnie Presley committed all these offenses at the US Capitol while still on

Probation for a 2019 assault conviction.


United States v. David Blair (21-cr-186-CRC):


   David Blair pleaded guilty to Civil Disorder and was sentenced to 5 months

incarceration. Blair’s case is a far more fitting comparison than the other examples

the government has cited, because like Mr. Fuller, Blair committed his offense

while resisting officer’s attempts to clear capitol grounds. As outlined previously in

this memorandum, those circumstances are rather unique because the majority of

January 6th defendants acted with the intent to “push forward” rather than simply

resist being pushed out. However, during his resist of the officers and after

intentionally drawing an officer to use his baton to push him, Blair verbally taunted

law enforcement by shouting, “What’s up motherfucker, what’s up bitch?” Seconds

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later, when officers continued advancing, Blair (who had brought a lacrosse stick to

the Capitol, despite not having any apparent need for sporting equipment) pushed

his lacrosse stick into a police officer’s chest and was then detained and arrested on

the spot. Police found a knife and a roll of duct tape in his backpack. Blair was later

charged with three felonies (Civil Disorder, Assault with a deadly and dangerous

weapon, and Obstruction) as well as misdemeanors. He was allowed to plead guilty

to only Civil Disorder. When interviewed by the FBI, Blair lied and blamed his

actions on the police, falsely claiming that an officer had pushed him from behind

which angered him and led him to “cross check” another officer with his stick. The

government argues that Mr. Fuller deserves a six-months longer incarceration

sentence than Blair because Blair only had “one forceful push against the police

lasting only a few seconds.” They further argue that Mr. Fuller “pushed against

police using his body weight twice and for well over a minute the second time.” To

that, the defense directs the Court to the detailed description previously outlined in

this memorandum which explains the circumstances that mitigate this

overstatement as well as reiterates that Mr. Fuller never used disrespectful

language while addressing police, and rather than bringing a makeshift weapon to

the capitol he assisted officers by removing one from the crowd. The defense invites

the Court to use the government’s example of David Blair and his five-month

sentence as an absolute upper limit comparison.


   VIII. Conclusion




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   For the reasons stated above and given the unique circumstances of his actions

at the capitol and his role as a non-aggressor, counsel recommends a significant

downward variance from the sentencing guidelines. And given his family situation,

his contrition, his cooperation, and his history and characteristics, counsel

recommends that a sentence that is sufficient and not more than necessary is one

that avoids interruption to Mr. Fuller’s critical contribution to his dependents. Mr.

Fuller respectfully requests that the Court impose a period of probation with any

additional conditions deemed appropriate, along with the $2,000 restitution. As

noted above, this request for a non-custodial sentence is consistent with the

recommendation of the United States Probation Office:

   “The conduct in this case is serious, and the Probation Office believes that a
   sentence of 36 months’ probation would be appropriate, with the added
   component of home detention. If the court is inclined to impose a period of
   incarceration, the Probation office would respectfully recommend a consideration
   for intermittent incarceration as a secondary option, which would allow him to
   maintain his job and household.

   The recommended special conditions referenced within the presentence report are
   supported by the defendant’s characteristics and personal history. The
   recommended sentence is sufficient, but not greater than necessary to reflect the
   seriousness of the offense, provide general deterrence, and to promote respect for
   the law, as well as to protect the public from further crimes of the defendant.
   Based on the defendant’s financial situation and need to support his family, the
   imposition of a fine is not recommended in addition to restitution.”


                                        Respectfully submitted,

                                        A. J. KRAMER
                                        FEDERAL PUBLIC DEFENDER

                                               /s/

                                        MICHELLE M. PETERSON
                                        Chief Assistant Federal Public Defender

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                              625 Indiana Avenue, N.W., Suite 550
                              Washington, D.C. 20004
                              (202) 208-7500
                              Shelli_Peterson@fd.org




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